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                 IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF IDAHO

UNITED STATES OF AMERICA,      )
                               )              Case No. CR-07-187-E-BLW
           Plaintiff,          )                       CR-08-345-E-BLW
                               )              ORDER ADOPTING REPORT
     v.                        )              AND RECOMMENDATION
                               )
LINDA JAUREGUI,                )
                               )
                 Defendant.    )
______________________________ )

      The Court has before it a Report and Recommendation filed by the United

States Magistrate Judge (Docket No. 24). On March 9, 2009, Defendant Linda

Jauregui appeared before the Magistrate Judge to enter a plea of guilty of Count

One of the charges in the Superseding Indictment (Docket No. 44) in CR-07-187-

E-BLW; and guilty as to Count One of the Indictment (Docket No. 1) in CR-08-

345-E-BLW. The Magistrate Judge conducted the plea hearing and concluded

there is a factual basis for Defendant’s plea of guilty to the charges found in the

Indictment, and that it was entered voluntarily and with full knowledge of the

consequences. No objections to the Report and Recommendation have been filed.

      The Court now has reviewed the record, and finds that the requirements of

Rule 11 have been met. See United States v. Reyna-Tapia, 328 F.3d 1114 (9th Cir.

2003). Specifically, the Court finds that the Magistrate Judge adhered to the
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requirements of Rule 11(b); that under Rule 11(b)(2), the Defendant’s plea was

voluntary and not the result of force or threats or promises apart from the plea

agreement; and that a factual basis for the plea exists. See id. Accordingly,

      NOW THEREFORE IT IS HEREBY ORDERED that the Report and

Recommendation (Docket No. 24) shall be, and the same is hereby, ADOPTED as

the decision of the District Court and incorporated fully herein by reference.

      IT IS FURTHER ORDERED that the Defendant’s plea of guilty to Count

One of the charges in the Superseding Indictment (Docket No. 44) in CR-07-187-

E-BLW; and guilty as to Count One of the Indictment (Docket No. 1) in CR-08-

345-E-BLW, shall be, and the same is hereby, ACCEPTED by the Court as a

knowing and voluntary plea supported by an independent basis in fact containing

each of the essential elements of the offense.

      IT IS FURTHER ORDERED that Defendant Linda Jauregui is found to be

guilty of Count One of the charges in the Superseding Indictment (Docket No. 44)

in CR-07-187-E-BLW; and guilty as to Count One of the Indictment (Docket No.




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1) in CR-08-345-E-BLW.

                                     DATED: April 8, 2009



                                     B. LYNN WINMILL
                                     Chief Judge
                                     United States District Court




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